       Case 1:21-cr-00292-RCL Document 213 Filed 02/17/23 Page 1 of 1

                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF                    )
AMERICA                             )
                                    )      Criminal Case No.: 21-cr-292-RCL
             vs                     )
                                    )
CHRISTOPHER WORRELL                 )
                                    )



                        WAIVER OF TRIAL BY JURY

      With the consent of the United States Attorney and the approval of the

Court, the defendant waives his right to trial by jury.


                                           /s/ Christopher Worrell
                                           Christopher Worrell
                                           Defendant


                                           /s/ William L. Shipley
                                           William L. Shipley, Jr., Esq.
                                           Counsel for Defendant

I consent:

/s/William Dreher
William Dreher
Assistant United States Attorney


Approved:


                                          Date:

Royce C. Lamberth

United States District Judge
